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                                UNITED STATES DISTRICT COURT
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                                    DISTRICT OF NEVADA
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11
     UNITED STATES OF AMERICA,                          Case No. 3:16-cr-00009-LRH-WGC
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                   Plaintiff,
13                                                      ORDER APPROVING
            v.                                          STIPULATION TO CONTINUE
14                                                      REVOCATION HEARING
     RAFAEL ALFONSO MEDINA,
15                                                      (FIRST REQUEST)
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and CHRISTOPHER P. FREY, Assistant Federal

20   Public Defender, counsel for RAFAEL ALFONSO MEDINA and NICHOLAS A.
21   TRUTANICH, United States Attorney, and PENELOPE BRADY, Assistant United States
22
     Attorney, counsel for the UNITED STATES OF AMERICA, that the Revocation of Supervised
23
     Release hearing set for October 22, 2020, at 1:30 PM, be vacated and continued to November
24
25   23, 2020, at 11:00 AM.

26          ///
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 1          This Stipulation is entered into for the following reasons:
 2          Mr. Medina is scheduled to appear before this court for a Revocation Hearing on
 3
     October 22, 2020, at 1:30 PM. Undersigned counsel request that this matter be continued to
 4
     November 23, 2020, at 11:00 AM, to allow the parties to continue negotiations toward a
 5
 6   resolution of this matter.

 7          1.      Failure to grant this extension of time would deprive the defendant continuity
 8   of counsel and the effective assistance of counsel.
 9          2.      Mr. Medina is currently on bond.
10          3.      The parties agree to the continuance.
11          4.      This is the first request for a continuance.
12          DATED this 13th day of October, 2020.
13
         RENE L. VALLADARES                                NICHOLAS A. TRUTANICH
14       Federal Public Defender                           United States Attorney

15
      By /s/ Christopher P. Frey                    . By     /s/ Penelope Brady              .
16       CHRISTOPHER P. FREY                                PENELOPE BRADY
         Assistant Federal Public Defender                  Assistant United States Attorney
17       Counsel for                                        Counsel for the Government
         RAFAEL ALFONSO MEDINA
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 1                                            ORDER
 2          Based on the Stipulation of counsel, and good cause appearing,
 3          IT IS THEREFORE ORDERED that the Revocation Hearing currently set for
 4
     October 22, 2020, at 1:30 PM, be vacated and continued to November 23, 2020, at 11:00 AM.
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 6                                                      This is good LRH signature


            DATED this 15th day of October, 2020.
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                                                UNITED STATES DISTRICT JUDGE
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